                    Case 1:19-cr-00921-AKH Document 47 Filed 12/30/21 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                              )
       ______________________________________                 )
                         USA / Plaintiff(s)                   )
                                                              )
               v.                                             )                  19 Cr. 921
                                                                      Case No.: _________________________
                                                              )
                                                              )
        NICHOLAS TRUGLIA,
       ______________________________________                 )
                         Defendant(s)                         )
                                                              )
                                                              )


                             NOTICE OF FILING OF OFFICIAL TRANSCRIPT


                                                                                                12/6/21
       Notice is hereby given that an official transcript of a ________________ held on __________________
has been filed by the court reporter/transcriber in the above-captioned matter.

        Redaction responsibilities apply to the attorneys of record or pro se parties, even if the person requesting
the transcript is a judge or a member of the public or media.

       The parties have seven (7) calendar days from the date of filing of this NOTICE to file with the court
any NOTICE OF INTENT TO REQUEST REDACTION of this transcript. A copy of said NOTICE must also
be served on the court reporter. If no such NOTICE is filed, the transcript may be made remotely electronically
available to the public without redaction after ninety (90) calendar days.

        This process may only be used to redact the following personal data identifiers: Social Security
 numbers; dates of birth; minors’ names; and financial account numbers. See Federal Rule of Civil Procedure
 5.2, and Federal Rule of Criminal Procedure 49.1. Parties wishing to request redaction of other information
 may proceed by motion.

        I (we) certify that the foregoing is a correct transcript from the record of proceedings in the above-
entitled matter.

 MAURO
_________________________                             _________________________
Court Reporter/Transcriber                            Date
